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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
In re:                                                ) Chapter 11
                                                      )
YELLOW CORPORATION, et al.,1                          ) Case No. 23-11069 (CTG)
                                                      )
                           Debtors.                   ) (Jointly Administered)
                                                      )
                                                      )
                                                        Re: Docket Nos. 852, 863

NOTICE OF FILING OF REVISED ORDER (I) APPROVING AGENCY AGREEMENT
WITH NATIONS CAPITAL, LLC, RITCHIE BROS. AUCTIONEERS (AMERICA) INC.,
    IRONPLANET, INC., RITCHIE BROS. AUCTIONEERS (CANADA) LTD., AND
       IRONPLANET CANADA LTD. EFFECTIVE AS OF OCTOBER 16, 2023;
 (II) AUTHORIZING THE SALE OF ROLLING STOCK ASSETS FREE AND CLEAR
          OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES; AND
                      (III) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.       On October 16, 2023, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed the Motion of Debtors for Entry of an Order (I) Approving

Agency Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers (America) Inc.,

IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd. and IronPlanet Canada Ltd Effective

as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock Assets Free and Clear of

Liens, Claims, Interests and Encumbrances; and (III) Granting Related Relief (the “Motion”)2

[Docket No. 852]3, which attached a proposed order as Exhibit A thereto.




1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
    of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.
2
    Capitalized terms not otherwise defined herein shall have the meaning given to them in the Motion.
3
    The sealed version of the Motion was filed at Docket No. 863.

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       2.      Pursuant to the notice of hearing on the Motion [Docket No. 865], objections to

the Motion are due to be filed on or before October 27, 2023 at 9:00 a.m. (ET) (the “Objection

Deadline”) and a hearing on the Motion is scheduled for October 27, 2023 at 12:00 p.m. (ET)

(the “Hearing”).

       3.      Attached hereto as Exhibit A is a revised proposed order granting the Motion (the

“Revised Proposed Order”), which incorporates comments received from the following parties:

(a) the Committee, (b) the Agent, (c) the Prepetition UST Secured Parties, (d) the Prepetition

Secured Parties, (e) BNSF, (f) Nations Fund I, Inc., and (g) the Texas Taxing Authorities. As of

the filing of this notice, the U.S. Trustee has received but has not provided comments to the

Revised Proposed Order.

       4.      Attached hereto as Exhibit B is a redline of the Revised Order reflecting changes

against the original proposed order attached to the Motion.

       5.      Attached as Exhibit 1 to the Revised Proposed Order is the Agency Agreement,

which was originally filed with the Motion. Attached as Exhibits A and B thereto are lists of the

Rolling Stock Assets and the Leased Rolling Stock Assets, the latter of which has been amended

by the Debtors, in consultation with the Consultation Parties, as set forth at fn. 8 to the Revised

Proposed Order.

       6.      The Debtors intend to present the Revised Proposed Order at the Hearing.




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Dated: October 26, 2023
Wilmington, Delaware

/s/ Peter J. Keane
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